
*988OPINION.
Moeeis :
The petitioner capitalized part of its purcháses of rolls and took depreciation thereon, and charged other purchases of rolls to expense. The Commissioner contends that the cost of all rolls should be capitalized. On the evidence presented we are of the opinion that the copper rolls were capital items and that the cost thereof should therefore not be charged to expense.
. The facts show that the petitioner was not experienced in handling copper rolls, and further that it was handicapped by a lack of finances. The lack of available funds made it necessary constantly to scrape the rolls on hand for the purpose of engraving new designs thereon. As a result the rolls depreciated very rapidly so that about fifty were worn out in 1921. We are satisfied that the useful life of these rolls did not exceed five years, and that a depreciation- rate of 20 per cent should be allowed on the cost thereof for the taxable year in question.
Order of redeterininoMori will be entered on 10 days’ notice, under Rule 50.
